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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA

                                         (Alexandria Division)


 JANE DOE,                                               )
                                                         )
         Plaintiff,                                      )
                                                         )
 v.                                                      )       Case No.: 1:21-cv-1150 (AJT/JFA)
                                                         )
 MICHAEL O. BARBAZETTE, et al.,                          )
                                                         )
         Defendants.                                     )



                              RESPONSE TO MOTION TO DISMISS
                              OF DEFENDANT FAIRFAX COUNTY

         Defendant Fairfax County has moved to dismiss plaintiff Jane Doe’s amended complaint

 against it on the ground that the Trafficking Victims Protection Reauthorization Act (“TVPRA”)

 “does not contemplate liability for municipal policy or custom,” as a result of which, we are told,

 “there is not a single case in any federal court in the United States wherein the court has held that

 a municipal policy or custom claim can be pursued under the TVPRA.” ECF 43 at 7. The county

 demonstrably errs on both counts – the codified law and the case law – and its motion to dismiss

 cannot be granted on that basis. However, for tactical reasons emerging in light of the pending

 motions to dismiss filed on behalf of the five individual defendants herein, Doe stipulates to the

 dismissal of the county as a defendant.

         Plaintiff Doe notes for the record that, the county’s bold ipse dixit to the contrary – “not a

 single case” etc. – notwithstanding, it is clear as a matter of statutory interpretation, logic,

 common sense and case law that a county can be sued under the TVPRA. Congress passed the

 TVPRA in 2000 to help implement the Thirteenth Amendment. United States v. Toviave, 761
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 F.3d 623, 629 (6th Cir. 2014); see Muchira v. Al-Rawaf, 850 F.3d 605, 617 (4th Cir. 2017). In so

 doing, and when repeatedly reauthorizing the act, Congress provided no exemption for

 municipalities or counties, notwithstanding that Monell v. Dep’t of Soc. Serv., 436 U.S. 658

 (1978) had dramatically expanded their liability in civil rights cases, as “persons” – the same

 word that appears in the provision of the TVPRA and TVPRA creating a civil remedy against

 violators. 18 U.S.C. §1595(a). Several reported decisions confirm this state of affairs. Ruelas v.

 Cty. of Alameda, 519 F. Supp. 636, 647 (N. D. Cal. 2021) (“[I]t would be incongruous that a

 county could be liable for violations under the Thirteenth Amendment *** yet be excluded from

 liability under the [TVPRA] statute that implements that amendment's protections”);

 McCullough v. City of Montgomery, 2019 WL 2112963 at *10 (M.D. Ala. 2019) (“[T]he

 allegations support a plausible inference that, at the very least, the City ‘knowingly benefitted

 from participation in a venture which [the City] knew or should have known has engaged in’

 violations of the anti-peonage laws.”); Bridges v. Poe, 487 F.Supp 3d 1250, 1259 (N.D. Ala.

 2020) (suit under TVPRA permitted against sheriff in his official capacity, which “equates to a

 claim against the City of Jasper”).



                                             Conclusion

        Since plaintiff Doe stipulates to Fairfax County’s county's dismissal as a defendant, the

 county’s motion to dismiss may be granted notwithstanding that it demonstrably lacks merit.




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                                                         Respectfully submitted,

                                                         JANE DOE,

                                                         By counsel
 Dated: April 14, 2022

 Counsel for Plaintiff:


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                                                  Certificate of Service

        I, Victor M. Glasberg, hereby certify that on April 14, 2022, I filed the foregoing
 Response to Motion to Dismiss of Fairfax County with the clerk of the court using the ECF
 system.



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